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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                             Senior District Judge Richard P. Matsch

Date:             August 16, 2007
Courtroom Deputy: J. Chris Smith
ECR Technician:   Kathy Terasaki
___________________________________________________________________________

Civil Action No. 07-cv-00371-RPM

CHARLES CALDWELL and                                                   James A. Reed
VICKI CALDWELL,

        Plaintiffs,

v.

THE COUNTY OF PARK, a body corporate and politic and                   Andrew D. Ringel
politic subdivision of the State of Colorado,
FRED WEGENER,
MONTE GORE,
GREGORY S. FLINT,
STEVEN GROOME,
SHAWNA WHITEOWL, and                                                   Richard Lamphere
MARK DAMON,                                                        Michael K. Obernesser

      Defendants.
___________________________________________________________________________

                           COURTROOM MINUTES
___________________________________________________________________________

Scheduling Conference

11:34 a.m.      Court in session.

Discussion regarding case facts, claims and defenses.

Mr. Reed agrees to consider dismissing The County of Park as an improperly named
defendant.
Counsel agree to complete Rule 26 disclosures and to have an additional Rule 26 meeting if
necessary.

ORDERED:        Scheduling Order approved.

12:04 p.m.      Court in recess.

Hearing concluded. Total time: 30 min.
